                       IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MINNESOTA

                                       STATUS CONFERENCE
Council on American - Islamic Relations -     )                       COURT MINUTES
Minnesota, et al.,                            )                      BEFORE: Nancy E. Brasel
                                              )                              U.S. District Judge
                                              )
                         Plaintiffs,          )       Case No:            20-cv-2195 (NEB/BRT)
                                              )       Date:               October 26, 2020
         v.                                   )       Courthouse:         Audio Conference
                                              )       Courtroom:          NA
Atlas Aegis, LLC, et al.,                     )       Court Reporter:     NA
                                              )       Deputy:             Kristine Wegner
                         Defendants,          )       Time Commenced:     8:30 a.m.
                                              )       Time Concluded:     8:45 a.m.
                                              )       Time in Court       15 minutes



                Settlement. The Court inquired the status of settlement. It
Status Conference on:
was communicated that the parties have not reached a settlement on this
matter and additional time is not needed to continue settlement negotiations.
         Plaintiffs:     Amy Erickson, Ben Clements, John Bonifaz, Jonathan Abady, Julia Dayton Klein,
                         Matthew Brinckerhoff, Ronald Fein and Vivake Prasad
         Defendants:     Terrance Moore and Carol Moss




PROCEEDINGS:
The Court inquired about the status of settlement. The parties have not reached a settlement on this matter and
additional time is not needed to continue settlement negotiations. The parties are encouraged to continue
working on settlement. The hearing is still scheduled for 3:00 p.m. today. A response to the Motion for TRO is
due by 12:00 p.m. today.

Date: October 26, 2020                                     s/Kristine Wegner
                                                           Courtroom Deputy to Judge Nancy E. Brasel
